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                                 CAUSE NO. 24-07-11639                  EXHIBIT 6

DUSTIN ETTER                                   §     457th JUDICIAL DISTRICT COURT
v.                                             §
JEROD P. FURR, et al.                          §     MONTGOMERY COUNTY, TEXAS

JEROD P. FURR’S, CORINA FURR’S, ALLIANCE FARM & RANCH, LLC’S,
  AE PARTNERS HOLDINGS, INC.’s, ALLIANCE ENERGY PARTNERS,
    LLC’S, AEP ASSET HOLDINGS, LLC’S, and INVICTIS DRILLING
MOTORS, LLC’S OBJECTIONS AND ANSWERS TO PLAINTIFF’S SECOND
                   SET OF INTERROGATORIES

TO:    Dustin Etter, by and through his attorney of record, Noah Meek, IRELAN
       MCDANIEL, PLLC, 2520 Caroline Street, 2nd Floor, Houston, Texas 77004.

       Pursuant to Rule 197.2 of the Texas Rules of Civil Procedure, Defendants, Jerod

P. Furr, Corina Furr, Alliance Farm & Ranch, LLC, AE Partners Holdings, Inc.,

Alliance Energy Partners, LLC, AEP Asset Holdings, LLC, and Invictis Drilling

Motors, LLC serve their Objections and Answers to Plaintiff’s Second Set of

Interrogatories.

                                                   Respectfully submitted,

                                                     /s/ Alyssa M. Cuellar
                                                   J. Randal Bays
                                                   State Bar No. 01943900
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                                                   Alyssa M. Cuellar
                                                   State Bar No. 24135656
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                                                   Conroe, Texas 77301
                                                   Tel: (936) 760-7670
                                                   Fax: (936) 760-7671
                                                   ATTORNEYS FOR JEROD P. FURR,
                                                   CORINA FURR, ALLIANCE FARM &
                                                   RANCH, LLC, AE PARTNERS
                                                   HOLDINGS, INC., ALLIANCE

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                                                   ENERGY PARTNERS, LLC, AEP
                                                   ASSET HOLDINGS, LLC’S, and
                                                   INVICTIS DRILLING MOTORS, LLC

              PLAINTIFF'S SECOND SET OF INTERROGATORIES

INTERROGATORY NO. 9:             Please identify and briefly describe any debt owed by
Alliance Farm & Ranch, LLC or any other entity wholly owned by Jerod P. Furr to AE
Partners Holdings, Inc. or any subsidiary or affiliate of AE Partners Holdings, Inc. at
any time on or after 1/1/2022. Please include in the description of each such debt:

       (a)   The original principal amount of the debt;
       (b)   The current amount owed on the debt;
       (c)   The date the debt was incurred;
       (d)   The interest rate for the debt;
       (e)   The maturity date of the debt;
       (f)   What promissory note or other written instrument, if any, memorializes
       the debt;
       (g)   Whether the debt has been modified or forgiven; and
       (h)   The general purpose of the debt (i.e. to buy real property).

ANSWER: None.

INTERROGATORY NO. 10: Please identify and briefly describe any lease
agreement between Alliance Farm & Ranch, LLC and AE Partners Holdings, Inc. or
any subsidiary or affiliate of AE Partners Holdings, Inc.

ANSWER: See attached Lease                   Agreement   labeled   AEPARTNERS307-
        AEPARTNERS317.




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                             CERTIFICATE OF SERVICE

       This is to certify that on January 2, 2025, Jerod P. Furr’s, Corina Furr’s,
Alliance Farm & Ranch, LLC’s, AE Partners Holdings, Inc.’s, Alliance Energy
Partners, LLC’s, AEP Asset Holdings, LLC’s, and Invictis Drilling Motors, LLC’s
Objections and Answers to Plaintiff’s Second Set of Interrogatories was served on the
following counsel of record via e-service pursuant to Rules 21 and 21a of the Texas
Rules of Civil Procedure:

Noah Meek
IRELAN MCDANIEL, PLLC
2520 Caroline Street, 2nd Floor
Houston, Texas 77004.
                                                    /s/ Alyssa M. Cuellar
                                                   Alyssa M. Cuellar




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